36 F.3d 1094
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Juan L. STEWARD, Plaintiff Appellant,v.GWALTNEY OF SMITHFIELD, LTD., Defendant Appellee.
    No. 94-1614.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  August 25, 1994Decided:  October 4, 1994.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  Henry C. Morgan, Jr., District Judge.  (CA-94-193)
      Juan L. Steward, Appellant Pro Se.
      Leslie Robert Stellman, Littler, Mendelson, Fastiff &amp; Tichy, Baltimore, Maryland, for Appellee.
      E.D.Va.
      AFFIRMED.
      Before RUSSELL and MICHAEL, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order dismissing his Title VII claims.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Steward v. Gwaltney of Smithfield, Ltd., No. CA-94-193 (E.D. Va.  Apr. 20, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    